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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                      CASE NO: 2:02-cr-72-FtM-29SPC

DOYLE GRIMES, JR.


                              OPINION AND ORDER

      This matter comes before the Court on defendant's Unopposed

Motion for Sentence Reduction Under Amendment 750 (Doc. #370) filed

on December 1, 2014.         Defendant, by and through counsel, seeks a

reduction    in   sentence    pursuant   to   Amendment   750     of    the   U.S.

Sentencing Guidelines.

      On October 13, 2011, the Court appointed the Federal Public

Defender     to    represent     defendant     in    connection        with    the

determination of whether a motion for reduction should be filed.

(Doc.   #347.)      The   United   States     Probation   Office       issued   a

Memorandum (Doc. #347-1) providing that defendant was eligible for

a   reduction     under   Amendment   750     and   recommended    an    amended

guideline calculation of 240 months imprisonment.           Defendant seeks

a reduction of the previously imposed term of imprisonment to the

amended term of 240 months, and indicates that the government does

not oppose the motion.         The Court will grant the motion pursuant

to 18 U.S.C. § 3582(c).
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      Accordingly, it is hereby

      ORDERED:

      1. Defendant's Unopposed Motion for Sentence Reduction Under

         Amendment 750 (Doc. #370) is GRANTED as set forth below.

      2. The Clerk of the Court shall enter an Amended Judgment

         reducing the sentence imposed to two hundred and forty

         months (240) months imprisonment, and otherwise leaving

         all other components of the sentence as originally imposed.

         This Opinion and Order and the Amended Judgment is subject

         to    the    prohibition     contained       within   U.S.S.G.    §

         1B1.10(b)(2)(c) which provides that “[i]n no event may the

         reduced term of imprisonment be less than the term of

         imprisonment the defendant has already served.”

      3. If defendant is eligible for immediate release, this Order

         is stayed for ten (10) calendar days, or until such time

         as    the   Bureau    of    Prisons    has     completed    release

         preparations, whichever is sooner.

      DONE and ORDERED at Fort Myers, Florida, this            5th    day of

December, 2014.




Copies:
Counsel of Record
U.S. Probation
U.S. Marshal
DCCD



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